                 Case 3:20-cv-05760-BHS Document 9 Filed 11/09/20 Page 1 of 2




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                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
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10   STEVEN A. PEMBERTON,                            CASE NO. C20-5760 BHS

                             Plaintiff,              ORDER ADOPTING REPORT
11
            v.                                       AND RECOMMENDATION
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     DEPARTMENT OF CORRECTIONS,
     et al.,
13
                             Defendants.
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            This matter comes before the Court on the Report and Recommendation (“R&R”)
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     of the Honorable J. Richard Creatura, United States Magistrate Judge. Dkt. 8. The Court
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     having considered the R&R and the remaining record, and no objections having been
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     filed, does hereby find and order as follows:
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            (1)     The R&R is ADOPTED;
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            (2)     Plaintiff’s motion is to voluntarily dismiss is GRANTED;
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     ORDER - 1
                 Case 3:20-cv-05760-BHS Document 9 Filed 11/09/20 Page 2 of 2




 1         (3)      Plaintiff’s in forma pauperis status is REVOKED for the purposes of

 2                  appeal; and

 3         (4)      The Clerk shall close this case.

 4         Dated this 9th day of November, 2020.

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                                                A
                                                BENJAMIN H. SETTLE
                                                United States District Judge

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     ORDER - 2
